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                                                                                                 horribly 1 of 11
                                                                                                          wrong     PageID 180
                                                                                                                - POLITICO

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    POLITICS




    ‘Are you QAnon?’: One Trump official’s brush with an internet cult gone

    horribly wrong

    Some believed he was “Q,” the mythical figure behind an intricate and sprawling conspiracy theory. Here Ezra
    Cohen-Watnick, a senior Trump intelligence official, shares the story of his ordeal for the first time.




           In his first public comments on his ordeal, Ezra Cohen-Watnick, who goes by the name Ezra Cohen, detailed

           a nightmarish, two-year-long fight to extricate himself from the QAnon saga. | U.S. Department of Defense




           By   JOSH   GERSTEIN

           01/19/2021      08:27   PM   EST



https://www.politico.com/news/2021/01/19/qanon-trump-ezra-cohen-watnick-460520
                                                                                      EXHIBIT 9, Page 1 of 11                    1/11
6/17/2021Case 8:22-cv-00343-MSS-SPF          Document
                          ‘Are you QAnon?’: One              19-9
                                                Trump official’s       Filed
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                                                                            an internet cult gonePage
                                                                                                 horribly 2 of 11
                                                                                                          wrong     PageID 181
                                                                                                                - POLITICO

           Updated:    01/19/2021      11:13   PM   EST




           The deadly insurrection in the nation’s capital this month brought intense
           public scrutiny to the online conspiracy theory QAnon and shock about its
           pervasiveness, but one prominent Trump administration official said he’s been
           battling the movement for years — pleading with his government colleagues
           and figures in the tech industry to recognize the real-world danger posed by the
           internet-based fantasy.

           Since 2018, many members of the cult-like group have been convinced that its
           shadowy leader and founder is actually Ezra Cohen-Watnick, an intelligence
           specialist who worked in various Defense Department jobs before accepting a
           senior post on the National Security Council staff soon after President Donald
           Trump came into office in 2017. Cohen, who was brought in under former
           national security adviser Michael Flynn, became a figure of controversy when
           his run-ins with other intelligence officials spilled out into the press.

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           Cohen’s resulting notoriety led many adherents of QAnon to regard him as “Q,”
           who according to the conspiracy theory’s lore is a Trump administration
           official working on the inside to expose a deep-state cabal of pedophiles and
           Satan-worshippers bent on undermining Trump. Q’s cryptic messages, posted
           in the form of “Q drops” in online forums, have also fueled an obsession with a
           coming “Storm” — an apocalyptic event that would expose the evildoers, bring
           the cabal to justice and cement Trump’s hold on power.

https://www.politico.com/news/2021/01/19/qanon-trump-ezra-cohen-watnick-460520
                                                                                      EXHIBIT 9, Page 2 of 11                    2/11
6/17/2021Case 8:22-cv-00343-MSS-SPF          Document
                          ‘Are you QAnon?’: One              19-9
                                                Trump official’s       Filed
                                                                 brush with     03/07/22
                                                                            an internet cult gonePage
                                                                                                 horribly 3 of 11
                                                                                                          wrong     PageID 182
                                                                                                                - POLITICO




           “It's clear that the QAnon conspiracy was a core of what was going on at the
           Capitol and I want to do everything I can to delegitimize this conspiracy,”
           Cohen, 34, told POLITICO in an interview. “The country deserved better on
           Jan. 6 — what transpired was appalling and completely at odds with our
           democratic principles.”

           Many of those who stormed the Capitol openly espoused QAnon beliefs and
           appear to have become convinced that Trump’s drive to overturn his loss in the
           2020 election would culminate in some kind of military-led intervention,
           ousting evil Democrats and ushering in a righteous new era.

           Trump fueled the Capitol attack not only with his inflammatory words but
           through months of public flirtation with the bizarre online obsession —
           particularly when it seemed to bolster his re-election bid or advance his post-
           election campaign to challenge the election results.

           Asked about the violence at the Capitol, as well as the role that Trump played
           in stoking it through his speech that day and the conspiracy talk he fomented
           in the weeks after the election, Cohen said: “The administration should have
           crushed this QAnon stuff as soon as it materialized.”


                               TECHNOLOGY




                               Twitter says it booted 70,000 QAnon accounts after attack on

                               Capitol

                               BY   LEAH   NYLEN




           In his first public comments on his ordeal, Cohen detailed a nightmarish, two-
           year-long fight to extricate himself from the QAnon saga. He said he’s speaking
           out now because he is again a private citizen, wrapping up his service as a

https://www.politico.com/news/2021/01/19/qanon-trump-ezra-cohen-watnick-460520
                                                                                      EXHIBIT 9, Page 3 of 11                    3/11
6/17/2021Case 8:22-cv-00343-MSS-SPF          Document
                          ‘Are you QAnon?’: One              19-9
                                                Trump official’s       Filed
                                                                 brush with     03/07/22
                                                                            an internet cult gonePage
                                                                                                 horribly 4 of 11
                                                                                                          wrong     PageID 183
                                                                                                                - POLITICO



          Trump appointee at the Pentagon, and because he is outraged over the tragic
          events of Jan. 6.

          Cohen described being caught in a kind of ideological tag team as early
          speculation by right-wing QAnon followers that that he was Q evolved into left-
          wing obsession with proving that he was the fraudster behind the postings, in
          order to demonstrate the moral bankruptcy of a top Trump administration
          official.

          The rumors eventually began to seep into his real-life world. He recalls being
          approached at a pre-Covid cocktail party in D.C. “Someone came up to me and
          said, whispering, ‘Are you QAnon?’” he said, calling the incident disturbing.

          Online, Cohen faced a slew of social media accounts falsely purporting to be
          him, tweeting out cryptic messages to QAnon followers. He said Twitter was
          slow to address the problem.

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          “Twitter did a horrible job of responding to this,” Cohen said. “Twitter is
          getting very aggressive about the QAnon stuff now. But for a very long time
          they allowed this to fester. And it's not like they didn't know about it — we
          reported it to them.”

          Cohen became so concerned about the proliferation of accounts suggesting
            links to him that he hired Washington-based lawyer Mark Zaid to investigate
            and push social media sites to shut them down
https://www.politico.com/news/2021/01/19/qanon-trump-ezra-cohen-watnick-460520
                                                                               EXHIBIT 9, Page 4 of 11                           4/11
6/17/2021Case 8:22-cv-00343-MSS-SPF          Document
                          ‘Are you QAnon?’: One              19-9
                                                Trump official’s       Filed
                                                                 brush with     03/07/22
                                                                            an internet cult gonePage
                                                                                                 horribly 5 of 11
                                                                                                          wrong     PageID 184
                                                                                                                - POLITICO
          and push social media sites to shut them down.
          While the first accounts explicitly impersonated Cohen, the next wave were
          more subtle, set up under vague names like @YourFriendlyE. While those
          accounts never directly claimed to be Cohen, they would quickly be identified,
          falsely, as Cohen by other QAnon-focused accounts.

          “It was a cat-and-mouse game,” he recalled. “Every time we had an account get
          shut down, they would re-form and re-gain up to 20,000 followers and even
          higher within hours. And there would be this chorus of people online saying,
          ‘This is the new account.’”

          The accounts would then send cryptic, ominous messages that allegedly came
          from Cohen. “It is only at the precipice that true and lasting change will occur,”
          one tweet said. “In order to fully expose the ‘Invisible Enemy,’ we had to bait
          them into a very contentious, bright light.”

          Cohen said those running the account seemed to have a sophisticated
          understanding of Twitter’s policies and were skilled at evading them for some
          time.

          “It was very clear that they basically knew exactly what the Twitter
          impersonation rules were,” he said. “They never came out and actually used my
          name or put my picture as the profile picture. They knew exactly where the line
          was, to get taken down as an impersonator account.”

          Some of the online activity began to bleed over into Cohen’s physical world in
          troubling ways. One Twitter account involved posted a close-up photo of his
          home.

          “It wasn't just from Google Streetview. It was as if somebody had been outside
          my house, and literally took a picture, looking in through my window,” he said.
          “I took it as a threat.”

          Cohen also discovered that someone hacked into an old Hotmail account he no
          longer used and sought to use it verify other accounts. The intruder then used
          it to set up a meeting for Cohen with former National Security Agency
            employee Bill Binney, who has claimed that the hack of the Democratic
https://www.politico.com/news/2021/01/19/qanon-trump-ezra-cohen-watnick-460520
                                                                               EXHIBIT 9, Page 5 of 11                           5/11
6/17/2021Case 8:22-cv-00343-MSS-SPF          Document
                          ‘Are you QAnon?’: One              19-9
                                                Trump official’s       Filed
                                                                 brush with     03/07/22
                                                                            an internet cult gonePage
                                                                                                 horribly 6 of 11
                                                                                                          wrong     PageID 185
                                                                                                                - POLITICO



           National Committee in 2016 was an inside job and was not orchestrated by
           Russia as the intelligence community concluded.

           One unusual aspect of the planned coffee-shop meeting was that despite the
           purported “invite” to Binney, Cohen knew nothing about it.

           “The funny thing is, at the time, I wasn't even living in D.C. And I got a call
           from somebody saying, ‘Hey, you stood up Bill Binney.’ And I said, ‘What are
           you talking about?’” Cohen recalled. “You can imagine getting your email
           hacked into and having somebody lure people into coming to meet with you is
           very alarming.”

           Cohen left the NSC in August 2017 and worked at Oracle for a time before
           returning to the Defense Department last May as a political appointee
           overseeing special operations. Even after that move, the internet posts
           continued, with some QAnon followers causing concern for Pentagon security
           officials by coming by to try to pay him a visit.

           A spokesperson for Twitter defended the social media firm’s handling of the
           QAnon onslaught Cohen faced.

           “We’ve been clear that we will take strong enforcement action on behavior that
           has the potential to lead to offline harm, and we will permanently suspend
           accounts that are solely dedicated to sharing QAnon content,” Twitter
           spokesperson Trenton Kennedy said. “We recently permanently suspended
           more than 70,000 Twitter accounts engaging in this behavior, including many
           of the accounts you referenced. We will remain vigilant in our approach of
           detecting and fighting this behavior, including in reference to this specific
           individual.”

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                                                                                      EXHIBIT 9, Page 6 of 11                    6/11
6/17/2021Case 8:22-cv-00343-MSS-SPF          Document
                          ‘Are you QAnon?’: One              19-9
                                                Trump official’s       Filed
                                                                 brush with     03/07/22
                                                                            an internet cult gonePage
                                                                                                 horribly 7 of 11
                                                                                                          wrong     PageID 186
                                                                                                                - POLITICO




           However, Twitter did acknowledge that it stepped up its approach to QAnon-
           related accounts after the Capitol riot and found many instances of multiple
           accounts being run by a single person. The offending tweets Cohen shared with
           POLITICO are from accounts Twitter has permanently suspended, the firm
           said, while conceding that it won’t unmask pseudonymous accounts.

           Of course, QAnon did not rise to prominence solely based on social media
           activity, but also won followers by being promoted by high-profile figures in
           Trump circles.

           One person who has emerged as a hero of sorts to the QAnon faithful is Flynn,
           whose tenure as national security adviser lasted a mere 25 days. QAnon
           backers rallied behind Flynn during his epic battle with prosecutors over false
           statements he initially admitted making to investigators, and the retired
           lieutenant general has returned the favor to the group, tweeting out QAnon
           memes as well as the QAnon slogan: Where we go one, we go all, or the hashtag
           #WWG1WGA.

           Flynn effectively hired Cohen for the Trump White House in 2017. Cohen tried
           to reach out to Flynn through intermediaries to urge him to stop tweeting and
           retweeting QAnon content, a source familiar with the situation said. It didn’t
           work, and Flynn returned to Trump’s orbit in recent weeks as the president
           sought to overturn his election defeat.

           Trump also gave QAnon oxygen — or at least did nothing to snuff it out.

https://www.politico.com/news/2021/01/19/qanon-trump-ezra-cohen-watnick-460520
                                                                                      EXHIBIT 9, Page 7 of 11                    7/11
6/17/2021Case 8:22-cv-00343-MSS-SPF          Document
                          ‘Are you QAnon?’: One              19-9
                                                Trump official’s       Filed
                                                                 brush with     03/07/22
                                                                            an internet cult gonePage
                                                                                                 horribly 8 of 11
                                                                                                          wrong     PageID 187
                                                                                                                - POLITICO



           At a televised town hall meeting on NBC in October, host Savannah Guthrie
           asked Trump to denounce the conspiracy theory. His muddled response was
           taken by many QAnon backers as an endorsement.

           “I know nothing about it. I do know they are very much against pedophilia.
           They fight it very hard, but I know nothing about it,” Trump said.

           Behind the scenes, Trump reportedly dismissed the notion that QAnon posed
           any danger and seemed willing to continue his public dalliance with the group.

           “You know, people say they're into all kinds of bad things and say all kinds of
           terrible things about them," Trump said at a July meeting with top aides and
           Senate Majority Leader Mitch McConnell, according to Axios. "But, you know,
           my understanding is they basically are just people who want good
           government."


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           Trump and aides also embraced fringe Republican candidates who spouted
           #QAnon theories, such as just-elected Rep. Marjorie Taylor Greene. While
           some GOP leaders denounced Greene, in August, Trump tweeted out a tribute
           to her, calling her “a future Republican star.” And just weeks before the
           election, he gave her a shout-out from the stage at a Georgia rally.

           Asked about Trump’s role, Cohen responded in general terms, saying that
           many in the administration treated the conspiracy theory as amusing long after
           it passed that point.

https://www.politico.com/news/2021/01/19/qanon-trump-ezra-cohen-watnick-460520
                                                                                                              EXHIBIT 9, Page 8 of 11      8/11
6/17/2021Case 8:22-cv-00343-MSS-SPF          Document
                          ‘Are you QAnon?’: One              19-9
                                                Trump official’s       Filed
                                                                 brush with     03/07/22
                                                                            an internet cult gonePage
                                                                                                 horribly 9 of 11
                                                                                                          wrong     PageID 188
                                                                                                                - POLITICO



           Cohen, who specializes in countering influence of foreign adversaries like
           Russia and China, says the persistence and sophistication of some of those
           involved in QAnon have convinced him of a foreign presence in the movement.

           “In my professional opinion, being in the intelligence world, it really appeared
           to be a foreign state actor or a very organized operation,” he said. “I just don’t
           see that level of sophistication as just an amateur thing.”

           Cohen recently got a verified Twitter account, which he said he didn’t really
           want, simply in order to make it easier to swat down fake accounts. He knows
           that some of the fevered QAnon traffic about him has moved to Parler and
           other forums, but he said he won’t be setting up camp there just to try to drive
           others away.

           “I absolutely refuse to go on these other platforms,” he said. “I mean, I’m just
           not going to do it.”

           Cohen cleared out of his Pentagon office on Friday and says he’s now planning
           to take some time off. But his attorney noted that — despite Twitter’s
           crackdown — messages keep appearing on the platform suggesting that Cohen
           is hard at work pursuing Q goals and is perhaps even behind a coup that will
           take place on Inauguration Day.

           "The two years we have spent trying to successfully disentangle Ezra from the
           sticky webs of QAnon conspiracists has required incredible efforts both behind
           the scenes and publicly,” said Zaid, who has sometimes represented POLITICO
           reporters in Freedom of Information suits. “This is a movement and ideology
           that needs to be directly confronted by our government and citizenry.”


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                                                                                                EXHIBIT 9, Page 9 of 11          9/11
6/17/2021Case 8:22-cv-00343-MSS-SPF          Document
                           ‘Are you QAnon?’: One             19-9
                                                 Trump official’s brush Filed   03/07/22
                                                                        with an internet         Page
                                                                                         cult gone horribly10  of -11
                                                                                                            wrong     PageID 189
                                                                                                                   POLITICO
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                                                                                                                 EXHIBIT 9, Page 10 of 11                                      10/11
6/17/2021Case 8:22-cv-00343-MSS-SPF          Document
                           ‘Are you QAnon?’: One             19-9
                                                 Trump official’s brush Filed   03/07/22
                                                                        with an internet         Page
                                                                                         cult gone horribly11  of -11
                                                                                                            wrong     PageID 190
                                                                                                                   POLITICO

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                                                                                       EXHIBIT 9, Page 11 of 11                    11/11
